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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 04-20015-Ml

DEDRICK ANTHONY TAYLOR
Defendant.

W-_,`_,~_»~_/~._»~_,~_d~_,

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on May 12, 2005, the United States
Attorney for this district, Tony Arvin, appearing for the Government and
the defendant, Dedrick Anthony Taylor, appearing in person and with
counsel, Lorna McClusky, Who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Counts l, 2, 3 and
4 of the Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this ease is SET for FRIDAY, SEPTEMBER 16, 2005, at
9:00 a.m., before Judge Jon Phipps McCalla.

Defendant is remanded to the Custody of the U- S. Marshal.

ENTERED this the l§§day of May, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT COURT

 

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Honorable .1 on McCalla
US DISTRICT COURT

